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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 MARIBEL RODRIGUEZ,                                )
                                                   )
                         Plaintiff,                )      Case No.
         v.                                        )
                                                   )
 ATLANTIC CREDIT & FINANCE,                        )
 INC., BLITT & GAINES, P.C., and                   )      JURY TRIAL DEMANDED
 BARRISTER INVESTIGATIONS &                        )
 FILING SERVICE, INC.,                             )
                                                   )
                         Defendants.               )

                                           COMPLAINT

        Plaintiff MARIBEL RODRIGUEZ, through undersigned counsel, brings this complaint

against Defendants ATLANTIC CREDIT & FINANCE, INC., BLITT & GAINES, P.C., and

BARRISTER INVESTIGATIONS & FILING SERVICE, INC., and alleges as follows:

                                       NATURE OF THE ACTION

        1.      Plaintiff brings this action for damages for violations of the Fair Debt Collection

Practices Act (the “FDCPA”).

        2.      The claims stated herein stem from Defendants’ wrongful debt collection

activities on an alleged consumer debt, including filing a false affidavit in a collection action.

                                      JURISDICTION AND VENUE

        3.      This Court has subject matter jurisdiction over this action under 28 U.S.C. §§

1331 and 1337, and 15 U.S.C. § 1692k (FDCPA).

        4.      Venue is proper in this District under 28 U.S.C. § 1391, as the events complained

of occurred in this District.




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                                               PARTIES

        5.      Plaintiff Maribel Rodriguez is a natural person and resident of Illinois, from

whom Defendants attempted to collect an allegedly defaulted credit account originally held by

Household Bank, that was allegedly incurred primarily for personal, family and household

purposes (the “alleged debt”).

        6.      Plaintiff is a “consumer” as defined by Section 1692a(3) of the FDCPA.

        7.      Defendant, Atlantic Credit & Finance, Inc. (“Atlantic”) is a Virginia corporation

that does business in the State of Illinois, including in this District.

        8.      Atlantic is a debt collector as that term is defined in Section 1692a(6) of the

FDCPA because it uses the mails and telephone in its business, the principal purpose of which is

the collection of consumer debts.

        9.      Atlantic is also a debt buyer that specializes in buying large portfolios of

defaulted consumer debts for pennies on the dollar, the full amount of which it then tries to

collect for itself and through other debt collectors.

        10.     Defendant Blitt & Gaines, P.C. (“Blitt”), is a law firm organized as an Illinois

professional corporation that does business in the State of Illinois, including in this District.

        11.     Blitt is a debt collection law firm and it regularly collects consumer debts on

behalf of others.

        12.     Blitt is a debt collector as that term is defined in Section 1692a(6) of the FDCPA

because it uses the mails and telephone in its business, the principal purpose of which is the

collection of consumer debts, and because it regularly attempts to collect debts owed or due or

asserted to be owed or due another.




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        13.      Defendant Barrister Investigations & Filing Service, Inc., (“Barrister”) is a private

detective agency organized as an Illinois corporation with its principal place of business located

in Joliet, Illinois.

        14.      Barrister does business in the State of Illinois, including in this District.

        15.      Barrister maintains a website that describes Barrister’s business as follows:

     Barrister Investigations & Filing Service, Inc. has a fully trained staff to provide
     superior legal services in a timely and efficient manner. Barrister Investigations &
     Filing Service, Inc. has provided service to some of the largest attorneys in Illinois by
     servicing over one million documents from mortgage foreclosures, credit collections,
     divorces and more. We accomplish this by using advanced software applications which
     allow the client web access to view status, print affidavits and print invoices. All
     clients’ data is stored at a secured and protected offsite location to ensure the safety of
     all documentation.

See http://www.barristerillinois.com, last accessed on August 9, 2018.

        16.      Barrister is a debt collector as that term is defined in Section 1692a(6) of the

FDCPA because it regularly provides debt collection support services to collection attorneys,

third-party debt collectors. and debt buyers for the purpose of collecting debts owed or due or

asserted to be owed or due another.

                                  FACTS SUPPORTING THE ACTION

        17.      On October 13, 2006, Blitt, on behalf of Atlantic, filed a collection action against

Plaintiff in the Circuit Court of Cook County, styled as Atlantic Credit & Finance v. Rodriguez,

case number 2006-M1-179427 (the “collection action”).

        18.      The collection action sought to collect the alleged debt from Plaintiff.

        19.      Plaintiff disputes the validity and amount of the alleged debt, and she maintains

that she does not owe it.




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          20.   After filing the collection action complaint on behalf of Atlantic, Blitt thereafter

hired Barrister to support its efforts to collect the alleged debt from Plaintiff on behalf of

Atlantic.

          21.   Barrister has an Illinois Private Detective Agency License No. 117-000883.

          22.   Barrister, by and through its employee Eric Nilson, executed an Affidavit of

Service (the “Affidavit”) in which Mr. Nilson states under oath that he served a copy of the

collection action complaint and summons on Plaintiff at her home address of 5843 South

Richmond Street, Chicago, Illinois, at 7:50am on January 10, 2007.

          23.   Plaintiff was not at home at the date and time of the alleged service. At that time,

she was a college student, and was commuting to school to attend morning classes.

          24.   In the Affidavit, Mr. Nilson describes Plaintiff as follows:

                        GENDER F RACE H APPROXIMATE AGE 35

          25.   Although Plaintiff is a Hispanic female, in January 2007 she was only 22 years of

age.

          26.   Mr. Nilson’s statements in the Affidavit were false, as he did not serve a copy of

the collection action complaint and summons on Plaintiff.

          27.   Plaintiff was never served with notice of the collection action.

          28.   Blitt filed the Affidavit with the Circuit Court of Cook County, Illinois, so that

Plaintiff would be induced to believe that service was proper if Plaintiff checked the court

docket.

          29.   Atlantic then obtained a default judgment against Plaintiff, based on the false

Affidavit that indicated that Plaintiff had been properly served.




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          30.   Over eleven years later, in March 2018, Plaintiff learned of the collection action

for the first time when Atlantic served her with papers to revive the default judgment.

          31.   Atlantic then used the revived judgment to garnish Plaintiff’s wages.

          32.   To date, Atlantic has garnished $2,602.50 of Plaintiff’s wages using the default

judgment that it obtained using the false Affidavit.

          33.   Upon becoming aware of Defendants’ false assertions that they had served her

with process, that a default judgment had been entered against her, and that her wages were

being garnished, Plaintiff became distressed because she knew that they had never actually

served her with process and she had never had an opportunity to defend herself in the collection

action.

          34.   Plaintiff was deeply troubled that Atlantic was able to garnish her wages even

though it had never provided her with any notice of the collection action, and had never given

her an opportunity to contest its claims.

          35.   Defendants conspired to deprive Plaintiff of equal protection of the law, namely

to deprive her of her due process right to proper notice of the collection action.

          36.   Barrister’s employee Mr. Nilson, on behalf of the other Defendants, made false

statements in the Affidavit in an attempt to enforce collection of a consumer debt.

          37.   Under § 1692a(6)(D) of the FDCPA, any person while serving or attempting to

serve legal process on any other person in connection with the judicial enforcement of any debt

is not included as a debt collector, but the language of § 1692a(6)(D) extends the exemption to a

person only “while serving or attempting to serve legal process.” See Spiegel v. Judicial Attorney

Servs., Inc., 2011 WL 382809 (N.D. Ill. Feb.1 2011; Romea v. Heiberger & Assocs., 163 F.3d

111 (2nd Cir. 1998); Andrews v. S. Coast Legal Servs., 582 F. Supp. 2d 82 (D. Mass. 2008); and



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Flamm v. Sarner & Assocs., P.C., 2002U.S. Dist. LEXIS 22255 (E.D. Penn. 2002); Sneed v.

Winston Honore Holdings, LLC, No. 16 C 2564, 2017 U.S. Dist. LEXIS 15235, at *11 (N.D. Ill.

Feb. 3, 2017).

       38.       Defendants were not serving or attempting to serve legal process when they filed

the Affidavit.

       39.       Instead, they filed the Affidavit containing materially false statements for the

purpose and intent of collecting the alleged debt by obtaining a judgment against Plaintiff.

Indeed, Defendants (a) did not serve Plaintiff with the summons or complaint, or provide any

notice whatsoever of the collection action until years after Atlantic had obtained a judgment

against her, (b) made false sworn written statements, and (c) filed and presented these false

statements to the collection action court to induce Plaintiff to believe that service had been

effected, and that personal jurisdiction had been obtained over Plaintiff—to deceptively induce

Plaintiff not to fight the results of the collection action so that Defendants could attempt to

enforce and collect the alleged debt from Plaintiff.

       40.       Plaintiff was damaged by Defendants’ misconduct, as Atlantic obtained a

judgment against her and has garnished her wages using this judgment.

       41.       Defendants’ misrepresentations that they properly served Plaintiff in the

collection action, the execution of a false Affidavit, and the filing of the Affidavit in the

collection action were each done in connection with the collection of the alleged debt from

Plaintiff, and each was a coercive act calculated either (a) to trick Plaintiff into believing that

Atlantic had the right to proceed in the collection action, and that Plaintiff was required to file an

appearance in the collection action or (b) to surreptitiously obtain a judgment against Plaintiff




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and trick Plaintiff into believing that Atlantic had the right to obtain such a judgment and collect

thereon by garnishing her wages.

        42.     As a debt collector, Blitt may be held vicariously liable for Barrister’s collection

activity.

        43.     As a debt collector, Atlantic may be held vicariously liable for Blitt’s and

Barrister’s collection activity.

        44.     Plaintiff suffered significant damages proximately caused by Defendants’

misconduct, including but not limited to improperly garnished wages, fear, anxiety,

embarrassment, aggravation, wasted time, and inconvenience.

                              COUNT I – VIOLATIONS OF THE FDCPA
                                       (ALL DEFENDANTS)

        45.     Plaintiff restates and realleges all prior paragraphs as though fully set forth herein.

        46.     § 1692e of the FDCPA states in relevant part that a debt collector, “may not use

any false, deceptive, or misleading representation or means in connection with the collection of

any debt.”

        47.     Defendants made false, deceptive and misleading representations in connection

with the collection of a debt, in violation of § 1692e, by means of the false Affidavit they

prepared, filed, and communicated, and by means of the complaint and summons placed in the

mailbox of Plaintiff’s home, which falsely and deceptively was an attempt to induce Plaintiff to

believe that she was properly served, when in fact she was not.

        48.     §1692e(13) of the FDCPA prohibits the “false representation or implication that

documents are legal process.”




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       49.     Defendants violated § 1692e(13) by filing the Affidavit in the collection action,

which falsely implied that service had been obtained over Plaintiff and that the related

documents were legal process.

       50.     § 1692e(5) of the FDCPA prohibits the “threat to take any action that cannot

legally be taken or that is not intended to be taken.”

       51.     Defendants violated § 1692e(5) when they filed the Affidavit by falsely

threatening that Atlantic could obtain a judgment against Plaintiff unless Plaintiff appeared in the

collection action and filed an appearance, when, in fact, such action could not legally be taken.

       52.     § 1692e(10) of the FDCPA prohibits “use of any false representation or deceptive

means to collect or attempt to collect any debt or to obtain information concerning a consumer.”

       53.     Defendants violated § 1692e(10) by means filing the Affidavit and thereby

communicating that she was properly served, which falsely and deceptively was an attempt to

induce Plaintiff to believe that she was properly served, when in fact she was not, all in order to

collect the alleged debt from her via litigation.

       54.     § 1692f of the FDCPA states in relevant part that “[a] debt collector may not use

unfair or unconscionable means to collect or attempt to collect any debt.”

       55.     Defendants violated § 1692f by filing the Affidavit containing false statements in

an attempt to collect the alleged debt, which was unfair and unconscionable.

       56.     § 1692d of the FDCPA states in relevant part that “[a] debt collector may not

engage in any conduct the natural consequence of which is to harass, oppress, or abuse any

person in connection with the collection of a debt.”




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       57.      Defendants violated § 1692d by obtaining a default judgment against Plaintiff and

garnishing Plaintiff’s wages by using a false Affidavit, all while maintaining that their actions

were legal and legitimate.

       58.      Plaintiffs suffered damages proximately caused by Defendants’ misconduct.

       59.      As a result of Defendants’ violations of the FDCPA, Plaintiff is entitled to an

award of actual damages, statutory damages, costs, and reasonable attorney fees.

       WHEREFORE, Plaintiff requests that this Honorable Court:

             a. grant judgment in Plaintiff’s favor against Defendants;

             b. award Plaintiff statutory and actual damages in an amount to be determined at
                trial;

             c. award Plaintiff reasonable attorneys’ fees and costs pursuant to Section 1692k of
                the FDCPA; and

             d. award any other relief this Honorable Court deems equitable and just.

Plaintiff Demands Trial by Jury.

                                                      Respectfully Submitted,

                                                      /s/ Daniel Brown
                                                      Daniel Brown (ARDC # 6299184)
                                                      Main Street Attorney, LLC
                                                      PO Box 247
                                                      Chicago, IL 60690
                                                      (773) 453-7410
                                                      daniel@mainstreetattorney.com

                                                      Attorney for Plaintiff




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                          DOCUMENT PRESERVATION DEMAND

Plaintiff hereby demands that all Defendants take affirmative steps to preserve all recordings,
data, documents, and all other tangible things that relate to Plaintiff, the events described herein,
any third party associated with any telephone call, campaign, account, sale or file associated with
Plaintiff, and any account or number or symbol relating to them. These materials are likely very
relevant to the litigation of Plaintiff’s claims. If any Defendant is aware of any third party that
has possession, custody, or control of any such materials, Plaintiff demands that such Defendant
request that such third party also take steps to preserve the materials. This demand shall not
narrow the scope of any independent document preservation duties of any Defendant.

By: /s/ Daniel Brown
    Daniel Brown


                           NOTICE OF LIEN AND ASSIGNMENT

Please be advised that we claim a lien upon any recovery herein for 1/3 or such amount as a
court awards. All rights relating to attorneys’ fees have been assigned to counsel.

By: /s/ Daniel Brown
    Daniel Brown




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